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                         Exhibit 11
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                            Supplemental Safety Report
                                 Scott v. WMATA




                  Figure: McPherson Square Station WMATA Orange Line



                                      Prepared by:
                                Carl Berkowitz, Ph.D., PE
                                  November 21, 2024




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1. Introduction1
In follow up to my report dated March 16, 2023, I have been asked to provide a
supplemental report elaborating on the national standard of care that WMATA’s train
operator violated by moving a train stopped at a station platform without first warning
passengers that he was going to do so.

I also note that since the time of my first report, I have received and reviewed the
affidavit of Stacey Swain (11/6/23). It largely mirrors the witness statement at the time of
the incident and therefore does not change my opinions about the case; it provides yet
more support for my opinions.

2. Incident Overview2
On September 23, 2019 at approximately 6:37 pm, Ms. Carol Scott, 3 an elderly woman
using a cane for physical support, fell inside of a WMATA railcar after the train suddenly,
unexpectedly and violently jerked forward. Upon falling onto the floor of the railcar, Ms.
Scott struck her head, injured her leg and hip on her left side. Ms. Scott was a passenger
on the WMATA Metro Orange Line, train # 919, car #3144. Ms. Scott boarded at the
Vienna Metro Station with the intended destination of McPherson Square Metro Station;
and she sat in the first-row window seat on the right-side of the train car, in one of the
middle-to-front cars (approximately 10 feet from the left-front door that she would be
exiting.) After riding through eleven Metro stops, the train arrived at the McPherson
Square Metro Station, came to a complete stop and then played the announcement:
“McPherson Square, doors opening on the left.” After the announcement Ms. Scott stood
up from her seat and then walked towards the nearest door to exit the train. Just as she
started to reach for the center pole in the railcar for support the train suddenly,
unexpectedly and violently jerked forward. This forward motion of the train threw Ms.
Scott multiple feet, causing her to land on her left hip on the railcar floor.

3. Incident Details
        Weather was clear
        Lead car 3206
        After Ms. Scott had stood up, the train operator suddenly “jerked,” “launched,” or
         “lurched” the train forward, as confirmed not only by Ms. Scott, but by every
         single one of the three eyewitnesses identified in WMATA’s Incident/Accident
         Report:


1
  WMATA/RTRA Incident/Accident Report, Complaint
2
  WMATA/RTRA Incident/Accident Report, Complaint
3
  Born December 14, 1940

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                 WMATA Incident/Accident Report Witness Al Emondi stated:

                 “Woman stood up because the train stopped at McPherson Sq.
                 The train then jerked forward and the woman fell into the [aisle]. I
                 stayed with her until paramedics arrived.”

                 WMATA Incident/Accident Report Witness Stacey Swain stated:

                 “Train jerked at station I heard loud thump then a scream. People
                 trying to move her after that. I called emergency in on box in car
                 3144 asking for emergency assistance then screamed for no one
                 to move her till medics arrive. Then put jacket under Ms. Carol's
                 head and tried to calm her down till medic arrive.”

                 WMATA Incident/Accident Report Witness Don Phillips stated:

                 “Saw the lady in question stand up when the train stopped at
                 McPherson Sq. Unexpectedly, the train lurched forward and the
                 lady fell hard on the aisle floor. She immediately cried out in pain
                 and said she broke her leg. I did not hear the train conductor the
                 train was moving again.”

        WMATA Maintenance and Material Management System Incident Details:
         Customer fell aboard train. Single tracking between McPherson Square and
         Federal track #2.
        Metro Transit Police Department Event Report: While on board an Orange Line
         in the direction of New Carrolton (car # 3144). As the train serviced
         McPherson Square Ms. Scott stood up from her seat. As the train stopped it
         abruptly moved forward at which time she fell on the ground.
        Inspection of the train after the incident concluded the train had “no defect,
         normal services performed.”

4. Incident Timeline
Figure: Timeline of Events
  Step                             Description                                  Time
    1      Ms. Scott boards one of the middle-to-front cars at the
           Vienna Metro Station and sits in the first-row window
           seat on the right side of the train.
    2      The train arrives at McPherson Square Metro Station and
           comes to a complete stop.



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  Step                            Description                               Time
    3      PA announces: “McPherson Square, doors opening on the
           left.”
    4      Ms. Scott stands up from her seat and walked towards       Approximately 2 to
           the door to exit,                                              3 seconds
    5      Ms. Scott then reaches toward the center pole for
           additional support.
    6      The train suddenly, unexpectedly and violently lurches     Unexpected event
           forward.                                                   approximately less
    7      Ms. Scott is thrown in the air.                              than 1 second
    8      Ms. Scott lands on her hip on the railcar floor
    9      The train comes to a final stop

5. The National Standard of Care Requires Announcements When a Subway
   Train Stops Short of the Proper Platform Stop Location and Needs to
   Move Again
As background, the national standard of care is the standard of care that is followed by
the majority of subway systems in the United States. If a train stops short and needs to
move again to the proper stop location, the operator should announce the reason for
the stop and the subsequent movement. This helps passengers understand the situation
and reduces confusion or concern. This protects passengers from the obvious risk of
being thrown to the ground and hurt if the train were to move when they would not
reasonably expect it to. WMATA’s Standard Operating Procedures recognize this
obvious truth, requiring that before repositioning a train, the train operator warn all
passengers by intercom announcement: “Attention customers, this train will move
forward; please hold on.” (WMATA SOP 50.5.1.1).
Excerpts from Relevant WMATA Standard Operating Procedures
Compliance: WMATA failed to comply with their SOP #40 and SOP #50; specifically:
 Train Operators are responsible for the safe movement of trains
 If not properly berthed, announce over PA, "Your attention please, this train will
   move forward." SOP 40.5.1.3.3.
 Train Operators are responsible for making the appropriate P.A. announcements in
   conjunction with the standard operational procedures that require communications
   with customers. For example, when entering next station and repositioning train,
   announce over PA, “Attention customers, the train will move forward, please hold
   on.” SOP 50.5.1.1.




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Background:
SOP #40: Door Operations / Station Servicing Procedures
40.1 Purpose
The purpose of this Standard Operating Procedure is to establish procedures for Train
Operators to follow while servicing a station (i.e., berthing train, opening doors, loading
train and closing doors).

40.4 Responsibilities
40.4.1 Supervisor's Responsibility:
Supervisors shall ensure that all train operators within their sector are familiar with this
SOP and inspect daily to ensure operators are in place.
40.4.2 Train Operator's Responsibility:
Train Operators are responsible for the safe movement of trains and the safe loading
and unloading of customers.

40.5 Procedures
40.5.1.3.3 If not properly berthed, announce over PA, "Your attention please, this train
will move forward";
40.5.4 Station Overrun Procedures:
In the event that you fail to stop within the platform limits with front end of the train
beyond the 8-car maker, Operators of trains shall:
40.5.4.1 Immediately advise customers that the train will be holding momentarily with
doors closed.
40.5.4.2 Call ROCC and report exact locations of train and number of doors if any
beyond platform limits.

SOP# 50: Train Operator Standard Baseline Announcements
50.1 Purpose
The purpose of this Standard Operating Procedure is to provide Train Operators,
and those with train operations responsibilities, guidance on the P.A. announcements
that shall be made when performing standard operational procedures requiring routine
communications with customers.

50.4 Responsibilities
50.4.1 Rail Supervisors shall ensure that all train operators within their sector are
familiar with this SOP and periodically monitor operators for compliance.
50.4.2 Train Operators are responsible for making the appropriate P.A. announcements
in conjunction with the standard operational procedures that require communications
with customers.



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50.4.3 Train Operators are also responsible for the safe movement of trains and the safe
loading and unloading of customers.

50.5 Procedures
Procedure# Content
50.5.1 Train Operator Standard Baseline Announcements
52.5.2 Train Operator Standard Delay Announcements
50.5.1 Train Operator Standard Baseline Announcements:
50.5.1.1 Train Operators shall make the following announcements that correspond with
the standard operational procedures performed by Operators when leaving terminals,
servicing stations, and approaching terminal stations (Refer to the Standard Baseline
Announcement Table see below).




WMATA acknowledges that the explicit purpose of this required announcement is to
allow the customers to grab ahold of something before the train moves, so they don’t
get hurt:

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                    Q. If you stop short, are you allowed to move the train
                 forward again?
                    A. You’re allowed to reposition the train until you’re
                 properly berthed.
                    Q. That’s with that warning, you must give the verbal
                 warning that’s set forth in SOP 50-point-something that we
                 looked at earlier; right?
                     [Counsel for WMATA]: Objection.
                     BY MR. REGAN:
                     Q. Alerting the passengers that you’re going to move
                 the train so they don’t get hurt; right?
                     [Counsel for WMATA]: Objection.
                     A. Yeah, according to 50.5, yes.
                     BY MR. REGAN:
                      Q. And that is the purpose, by the way; right? I think
                 you said the purpose was so they can hold on. The worry
                 is they’re going to get hurt if they’re not warned about
                 what’s happening; right?
                     [Counsel for WMATA]: Objection.
                    A. They could, if they’re not paying attention, they
                 could get hurt. Most times, people feel the train stop so
                 they automatically get up thinking the doors are going to
                 open.

WMATA Dep. (Henry) at 47:3-16, 66:1-67:4.

This obvious risk of unwarned repositioning of a berthed train is recognized nationwide
and accordingly reflected in the nationwide practices that constitute the national
standard of care. The national standard of care requires that before
restarting/repositioning an improperly berthed subway train, a train driver must first
warn passengers so that they are not caught off guard by the movement and injured. The
standard practices of the New York City Metropolitan Transportation Authority, Chicago
Transit Authority, Massachusetts Bay Transit Authority (Boston), and the Southeastern
Pennsylvania Transportation Authority (Philadelphia), among others (and in addition to
WMATA’s own SOPs, of course), adhere to the same standard and rule.

New York City Transit
The New York City Transit (NYCT) operates the largest subway system in the United
States and many of the safety practices now utilized by the majority of subway systems


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had their origin in safety practices originally used by the NYCT. As a result, in many
respects, including those that apply directly to the facts of this case, the policies of the
NYCT have evolved into the national standard of care. Additionally, the union that
represents the subway operators in NYC is a national union and many of the NYCT
operators have served as instructors for other subway systems throughout the country.
NYCT has comprehensive guidelines for announcements, including those related to
delays and operational changes. When a NYCT train stops short of the proper stop
location and needs to move again, conductors are required to make an announcement to
inform passengers about the situation. This is part of the NYCT’s commitment to
keeping passengers informed and ensuring safety during unexpected movements.
The announcement typically includes:
 Reason for the stop: Briefly explaining why the train stopped short.
 Next steps: Informing passengers that the train will move again to the proper stop
    location.
 Safety reminders: Advising passengers to hold on to handrails and remain seated or
    stable during the movement.
These announcements are intended to help to manage passenger expectations and
maintain safety during the train’s adjustment to the correct stop position.

Massachusetts Bay Transportation Authority
The Massachusetts Bay Transportation Authority (MBTA) has similar safety and
operational protocols to other transit systems when it comes to making announcements
if a train stops short and needs to move again to the proper stop location. Conductors
are required to inform passengers about the situation to ensure safety and manage
expectations.
The announcement typically includes:
 Explanation: Briefly stating why the train stopped short.
 Next steps: Informing passengers that the train will move again to the correct stop
     location.
 Safety instructions: Advising passengers to hold on to handrails and remain seated or
     stable during the movement.
These announcements are crucial for maintaining passenger safety and providing clear
communication during unexpected train movements 1.

Chicago Transit Authority
The Chicago Transit Authority (CTA) has specific rules regarding announcements when a
train stops short of the proper stop location and needs to move again. According to the
CTA’s rules of conduct, train operators are required to make clear and timely



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announcements to inform passengers about any unexpected stops or movements. This
ensures passenger safety and keeps everyone informed about the train’s status.

6. Failures
As stated in my earlier report, it remains my professional opinion that this accident was
the direct result of the following failures by the train operator and WMATA:
   Failed to stop the train properly and safely at McPherson Square Metro Station.
   Failed to make an announcement warning passengers before the sudden, unexpected
    and violent movement of the train and subsequently informing passengers when it
    was safe to stand-up from their seats and exit the train.
   Failed to warn passengers of the risk of the sudden, unexpected and violent
    movements of the train. WMATA was aware of this hazard but failed to fix the issue
    or warn passengers.
   Failed to measure the jerk rate to determine if the jerk rate was safe for passengers.
   Failed to design support devices to ensure passengers were protected in the case of
    sudden, unexpected and violent movements of the train.
   Failed to provide evidence as to whether the sudden, unexpected and violent
    movement of the train was due to mechanical issues or train operator error.
   Failed to check the safety of his passengers after the train sudden, unexpected and
    violent moved.
   Failed to properly train the train operating personnel in the standard operating
    procedures for safely and properly starting and stopping the train.

7. Conclusion
It remains my professional opinion that based on the information currently available and
with a reasonable degree of engineering certainty, it is my professional engineering
opinion that the WMATA and the train operator violated WMATA’s own SOP 50.5.1.1,
which is consistent with the national standard of care, when entering McPherson Square
Station, stopping the train, and then repositioning it without warning the train’s
passengers. The safety risk that passengers will be thrown to the ground and injured by
unexpected and unwarned movement of a train that has stopped at a station platform is
long- and well-known, which is precisely why common carriers such as WMATA are
required to warn passengers before doing so. Failure to properly and safely berth the
train at the station directly caused Ms. Scott’s injury. The train operator suddenly,
unexpectedly accelerated the train forward without providing passengers any advance
warning. In fact, moments before the sudden jerk of the train, there was a PA
announcement indicating the station name and that the doors were opening to the left.
This announcement misled passengers to believe that it was safe to get up from their
seats and exit the train.


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Carl Berkowitz                                   Date




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